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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA

                                             Alexandria       Division

UNITED STATES OF AMERICA                                  )
                                                          )
        v.                                                )     Case No.1 :21-mj-50
                                                          )
ROBIN N'NAMDI           AJANI,                            )
                                                          )
                   Defendant.                             )


  AFFIDAVIT         IN SUPPORT OF A CRIMINAL                  COMPLAINT      AND ARREST WARRANT

        I, James R. Sobchack,        Special Agent with the Federal Bureau of Investigation               (FBI),

Washington       Field Office, being duly sworn, depose and state the following:

                                           Purpose of the Affidavit

         1.        This affidavit   is submitted     in support     of a criminal   complaint    and summons

charging that on or about September          26, 2020, at Ronald Reagans National Airport (DCA), in

Arlington County, Virginia, within the Eastern District of Virginia, ROBIN N'NAMDI                       AJAN!

did falsely assume and pretend to be an officer and employee               acting under the authority of the

United States, and acted as such, in violation of Title 18, United States Code, Section 912.

        2.         The facts and information       contained in this affidavit are based upon my training

and experience,      personal knowledge,    and observations       during the course of this investigation,    as

well as the observations     of other officers and agents involved in this investigation.       All observations

not personally     made by me were related to me by the individuals who made them or are based on

my review of records, documents,         and other physical evidence obtained during the course of this

investigation.    This affidavit contains information necessary to support probable cause but is not

intended to include each and every fact and matter observed by me or known to the United States.
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                                 Affiant's    Background   and Experience

        3.        I have been a Special Agent with the FBI since 1997. During my career, I have

worked a variety of investigative     matters to include criminal and counterterrorism      violations. I am

assigned to investigate     matters related to civil aviation and airport security at DCA, which is

located in Arlington County, Virginia, within the Eastern District of Virginia. As an FBI Special

Agent, I am empowered        by law to conduct     investigations,   make arrests and execute and serve

search and arrest warrants for offenses enumerated in Title 18 of the United States Criminal Code,

including offenses in violation of Title 18, United States Code, Section 912.

                                    Facts to Support Probable Cause

       4.         On or about September 26, 2020, AJANI approached the exit lane at the center pier

of DCA. AJANI displayed         counterfeit    FBI credentials   to the Transportation    Security   Officer

(TSO) working the Known Crew Memberdesk,              located in the exit lane of the center pier. The TSO

directed AJANI to the second TSO desk where law enforcement               credentials are verified. AJAN!

presented credentials     for an FBI Special Agent. The TSO at this desk recognized         the credentials

were not genuine and denied AJANI entry to the sterile area. AJANI left the exit lane but remained

nearby, just outside the entrance of the exit lane. The TSO contacted            Metropolitan   Washington

Airports Authority (MWAA) Police regarding the counterfeit            credentials.

        5.        An MW AA Po lice Officer responded and asked AJANI if he needed assistance at

the checkpoint.    AJANI told the officer that he needed to get a face mask to his wife who was

preparing to board an aircraft. The Officer asked AJANI if he had credentials            with him. AJANl

replied yes and gave the officer a black billfold with the FBI emblem. The officer noticed AJANI

appeared to have a shield attached to his waist similar to the manner in which law enforcement

officers wear their badges. The officer immediately        noticed the credentials    appeared different in



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texture, color, size, and shape to those of the official credentials of the FBI. AJANI was not able

to provide a verification   phone numberto confirm his FBI employment.      When asked where he had

acquired the credentials, AJAN! answered that he had obtained it from the Internet.

        6.       MWAA Police obtained consent to search the vehicle AJANI drove to the airport.

The search yielded an additional counterfeit    FBI credential (featuring a photo of AJANI) and a

counterfeit   gold FBI badge from "Internal Affairs Division."    The badge was in a leather holder

that had a chain. (It is common for FBI Special Agents to wear their badge around the neck during

certain operations.)   Within the car, officers also found a baton and holder, a black baseball hat

displaying the letters "FC!," a blue fleece with "Department     of Justice, Washington   Field Office"

on it, and a can of a chemical irritant oleoresin capsicum     (commonly   known as OC spray). (OC

spray is issued to FBI Agents.) Officers also found a 9mm firearm, properly registered to AJANI,

during the vehicle search.




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                                           Conclusion

       7.       Based on my experience and the given the aforementioned    facts, I submit that there

is probable causeto believethaton   orabout September26,   2020,atRonald    Regan National Airport

(DCA), in Arlington County, Virginia, within the Eastern District of Virginia, ROBIN N'NAMDI

AJANI did falsely assume and pretend to be an officer and employee acting under the authority of

the United States, and acted as such, in violation of Title 18, United States Code, Section 912.




                                                     speciaAg;ntJames     R. Sobchack
                                                     Federal Bureau of Investigation
 Respectfully submitted and attested to by the
 applicant in accordance with the
 requirements of Fed. R. Crim. P. 4.1 by
 telephone on February 18,2021.




 Hon. Ivan D. Davis
 United States Magistrate Judge

 Alexandria,   Virginia




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